Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 1 of 23




                        EXHIBIT E
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 2 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 3 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 4 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 5 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 6 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 7 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 8 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                         Desc Exhibit Page 9 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 10 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 11 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 12 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 13 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 14 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 15 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 16 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 17 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 18 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 19 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 20 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 21 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 22 of 23
Case 2:19-bk-14989-WB   Doc 609-15 Filed 02/19/20 Entered 02/19/20 17:59:56
                        Desc Exhibit Page 23 of 23
